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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

________________________________________
                                                      )
 REPUBLIC OF GUATEMALA,                               )
                                                      )
                          Petitioner,                 )
                                                      )
                           v.                         )      Civil Case No.
                                                      )
 IC POWER ASIA DEVELOPMENT LTD.,                      )
                                                      )
                   Respondent.                        )
 ______________________________________               )



                           [PROPOSED] ORDER AND JUDGMENT

         THIS CAUSE came before the Court on the Petition to Recognize Arbitration Award

(“Petition”) filed by Petitioner Republic of Guatemala (“Guatemala”) to recognize an award

entered in favor of Republic of Guatemala and against IC Power Asia Development Ltd. (“IC

Power Asia”) in IC Power Asia Development Ltd. v. Republic of Guatemala, PCA Case No. 2019-

43, on October 7, 2020 (“Award”). Upon consideration of the Petition and the record therein, it is

hereby

         ORDERED that the Award is recognized in its entirety;

         ORDERED that judgment is entered in favor of Guatemala in the amount of US$

1,803,042.61, plus pre-judgment and post-judgment interest; and

         ORDERED that Guatmala shall submit its petition for costs and attorneys’ fees of this civil

proceeding within 14 days of the issuance of this Order and Judgment, and that IC Power Asia

(“ICPA”) submit its response to Guatemala’s cost submission within 14 days.




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For which let execution issue forthwith

                                 ORDERED this          day of          , 2022




                                                UNITED STATES DISTRICT JUDGE




                                          2
